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                           UNITED STATES DISTRICT COURT
  20                      CENTRAL DISTRICT OF CALIFORNIA
  21    ZENITH ELECTRONICS LLC,         Case No. LA CV14-05150 JAK (AJWx)
        PANASONIC CORPORATION, and
  22    U.S. PHILIPS CORPORATION,       Hon. John A. Kronstadt
  23                         Plaintiffs,       COUNTERCLAIM-DEFENDANTS’
                                               MEMORANDUM OF POINTS AND
  24        vs.                                AUTHORITIES IN SUPPORT OF
                                               THEIR MOTION TO EXCLUDE
  25    SCEPTRE, INC.,                         SELECTED OPINIONS OF DR.
                                               MICHAEL A. WILLIAMS
  26                         Defendant.
                                                    Date: February 8, 2016
  27                                                Time: 8:30 am
                                                    Courtroom: 750
  28
        AND RELATED COUNTERCLAIMS.
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   1         Plaintiffs Zenith Electronics, LLC (“Zenith”), Panasonic Corporation
   2 (“Panasonic”), and U.S. Philips Corporation (“Philips”) (collectively, “Plaintiffs”),
   3 together    with    Counterclaim-Defendant      MPEG     LA,    LLC    (“MPEG      LA”)
   4 (collectively, “Counterclaim-Defendants”), in connection with their Motion for
   5 Partial Summary Judgment (Dkt. No. 260), hereby move to exclude selected
   6 opinions and testimony of Sceptre Inc.’s proffered expert, Dr. Michael A. Williams.
   7                                    INTRODUCTION
   8         Sceptre has asserted six non-patent Counterclaims against Counterclaim-
   9 Defendants.1 In support of those Counterclaims, Sceptre has proffered the report
  10 and testimony of Dr. Williams. On October 9, 2015, Dr. Williams submitted a
  11 report pursuant to Fed. R. Civ. P. 26 disclosing all of his opinions related to the
  12 Counterclaims and the bases for those opinions. (Declaration of Christopher E.
  13 Ondeck (“Ondeck Decl.”), Ex. A [Expert Report of Michael A. Williams, Ph.D.],
  14 (hereinafter the “Williams Report”)). On October 30, 2015, Defendants submitted
  15 the report of Dr. Anne Layne-Farrar, which responded to and addressed the
  16 methods, opinions, and underlying analyses proffered by Dr. Williams in the
  17 Williams Report. (Declaration of Anne Layne-Farrar (“Layne-Farrar Decl.”), Ex. A
  18 [October 30, 2015 Expert Rebuttal Report] (hereinafter the “Layne-Farrar Report”)).
  19 Dr. Williams was deposed on November 9, 2015, and Dr. Layne-Farrar was deposed
  20 on November 12-13, 2015. (See generally Ondeck Decl. Ex. B [Dr. Michael A.
  21 Williams 11/9/15 Dep. Tr.] (hereinafter “Williams Dep.”).)
  22
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  23     Sceptre alleges 14 counterclaims, including: (1) Sherman Act § 2 Monopolization
       (against Plaintiffs); (2) Sherman Act § 2 Conspiracy to Monopolize (against
  24   Counterclaim-Defendants); (3) Sherman Act § 1 Concerted Action Unreasonably
  25   Restraining Trade (against Counterclaim-Defendants); (4) Breach of Contract
       (against Plaintiffs); (5) Promissory Estoppel (against Plaintiffs); (6) Unfair Business
  26   Practices Under § 17200 (against Counterclaim-Defendants); as well as various
  27   declaratory judgment claims. See generally Sceptre, Inc.’s Second Amended
       Counterclaims, Dkt. No. 93 (Feb. 19, 2015) (hereinafter cited as “SAC”).
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   1          Counterclaim-Defendants have moved for summary judgment on Sceptre’s
   2 non-patent Counterclaims, and, as outlined in more detail in their moving papers,
   3 have demonstrated the inherent legal and economic weaknesses in Dr. Williams’
   4 opinions. Counterclaim-Defendants move separately here, however, to have certain
   5 of Dr. Williams’ opinions excluded under Federal Rule of Evidence 702 and
   6 Daubert v. Merrell Dow Pharms. Inc., 509 U.S. 579 (1993). Though the Court does
   7 not have to strike any of Dr. Williams’ opinions in order to grant Counterclaim-
   8 Defendants’ Motion for Partial Summary Judgment, Sections IV and V of Dr.
   9 Williams’ report are so flawed that exclusion of the opinions contained in those
  10 sections (as well as any testimony by Dr. Williams about those topics) is appropriate
  11 under Rule 702.
  12          In Section IV of his report, Dr. Williams purports to have analyzed the
  13 “                  ” of the royalty rate charged by MPEG LA for portfolio licenses
  14 to the ATSC patent pool. (Williams Report ¶¶ 6, 73-94.) In Section V of his report,
  15 Dr. Williams purports to “                               ” (Id. ¶¶ 6, 95-99.) Sceptre
  16 seeks to rely on the discussion, analyses, and opinions in Sections IV and V of the
  17 Williams V in support of its non-patent Counterclaims and its attendant contentions
  18 that     Counterclaim-Defendants’    alleged   conduct     is   anticompetitive,   that
  19 Counterclaim-Defendants wielded monopoly power in the upstream technology
  20 market, that Counterclaim-Defendants’ alleged conduct raises patent hold-up
  21 concerns, and that competition was supposedly harmed in the upstream technology
  22 market and in the alleged downstream product market.             Not only are these
  23 contentions unsupported by the evidentiary record in this case, the purported
  24 analyses and discussion of these topics by Dr. Williams fail to meet the standards set
  25 forth in Rule 702 and Daubert.
  26          Consequently, Counterclaim-Defendants move the Court to exclude from the
  27 record on summary judgment, and at trial, any testimony or opinions presented by
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   1 Dr. Williams regarding the alleged antitrust markets and the economic effects in
   2 those markets of Counterclaim-Defendants’ alleged conduct (i.e., Section IV of the
   3 Williams Report) and the alleged injury to Sceptre (i.e., Section V of the Williams
   4 Report). The opinions set out in those sections of the Williams Report: (i) will not
   5 help the trier of fact to understand the evidence or to determine a fact in issue; (ii)
   6 are based on insufficient facts and data; (iii) are based on improperly applied and
   7 unreliable methods; and (iv) have unreliably applied those methods to the facts of
   8 this case.
   9     LEGAL STANDARD FOR ADMISSIBILITY OF EXPERT TESTIMONY
  10         Federal Rule of Evidence 702 governs the admissibility of expert testimony,
  11 providing that:
  12         A witness who is qualified as an expert by knowledge, skill, experience,
  13         training, or education may testify in the form of an opinion or otherwise if:
  14         (a) the expert’s scientific, technical, or other specialized knowledge will help
  15         the trier of fact to understand the evidence or to determine a fact in issue; (b)
  16         the testimony is based on sufficient facts or data; (c) the testimony is the
  17         product of reliable principles and methods; and (d) the expert has reliably
  18         applied the principles and methods to the facts of the case.
  19 Fed. R. Evid. 702 (emphasis added); see id. Advisory Comm. Note (court may
  20 consider whether expert has accounted for obvious alternative explanations in
  21 determining whether expert testimony is reliable).         The court is charged with
  22 “ensuring that an expert’s testimony both rests on a reliable foundation and is
  23 relevant to the task at hand.” Daubert, 509 U.S. at 597. The court must ensure “that
  24 an expert, whether basing testimony upon professional studies or personal
  25 experience, employs in the courtroom the same level of intellectual rigor that
  26 characterizes the practice of an expert in the relevant field.” Kumho Tire Co., Ltd. v.
  27 Carmichael, 526 U.S. 137, 152 (1999). In making a reliability determination, courts
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   1 “scrutinize not only the principles and methods used by the expert, but also whether
   2 those principles and methods have been properly applied to the facts of the case.”
   3 Fed. R. Evid. 702 Advisory Comm. Note (2000).
   4         “It is well settled that only admissible evidence may be considered by the
   5 trial court in ruling on a motion for summary judgment.” Beyene v. Coleman Sec.
   6 Servs., Inc., 854 F.2d 1179, 1181 (9th Cir. 1988). “The trial court must act as a
   7 ‘gatekeeper’ . . . by making a preliminary determination” that the expert’s testimony
   8 is “both relevant and reliable.” Mukhtar v. California State Univ., Hayward, 299
   9 F.3d 1053, 1063 (9th Cir. 2002) (expert testimony was wrongly admitted because
  10 trial court did not fulfill its gatekeeping role when it failed to determine whether
  11 testimony was reliable); Domingo v. T.K., M.D., 289 F.3d 600, 605 (9th Cir. 2002)
  12 (trial court accomplishes its goal as gatekeeper “through a preliminary determination
  13 that the proffered [expert testimony] is both relevant and reliable”).
  14         The burden is placed on Sceptre, as the proponent of the expert testimony, to
  15 demonstrate that Dr. Williams’ opinions and methods are reliable and admissible.
  16 See Daubert, 509 U.S. at 592; Fed. R. Evid. 702 Advisory Comm. Note (2000).
  17                                      ARGUMENT
  18 I.      Dr. Williams Offers No Admissible Opinions About Any Relevant
  19         Downstream Market.
  20         Dr. Williams has proffered no opinions, nor conducted any economic
  21 analysis, regarding the supposed downstream market for DTVs in which Sceptre
  22 claims competition was harmed, and Dr. Williams admitted this in his deposition.
  23 (See, e.g., Williams Dep. at 48:1-13 (“
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    1                                                                         ) There should
    2 therefore be no dispute that Dr. Williams may not offer any opinions or testimony
    3 about any relevant downstream market—including, but not limited to, market
    4 definition, the cross-elasticity of demand of DTVs and monitors, consumer
    5 preferences, market participants, barriers to entry, market shares, product prices,
    6 output levels, and market entry/foreclosure.2
    7         Dr. Williams’ admissions are significant because the theory underlying
    8 Sceptre’s Counterclaims is that Counterclaim-Defendants’ alleged misconduct
    9 caused harm to competition in an alleged downstream market. (See SAC ¶¶ 96-106
  10 (“The Downstream Product Market and the Effect of the Anticompetitive Conduct
  11 Upon It”); id. ¶ 108 (“Plaintiffs and MPEG LA . . . have conspired in restraint of
  12 trade to affect, raise, fix, maintain, and stabilize prices in the downstream product
  13 market”); id. (asserting that the alleged misconduct “has in fact, restrained and
  14 eliminated competition from Sceptre, as well as others in the downstream product
  15 market”); see also id. ¶¶ 109, 112, 123-24, 138-39, 142-43.) As Dr. Layne-Farrar
  16 explains, Sceptre alleges two forms of injury: (i) that DTV makers and distributors
  17 are forced to charge higher prices to downstream consumers; and (ii) Sceptre’s
  18 litigation costs. (See Layne-Farrar Report ¶ 12.) Based on Dr. Williams’ own
  19 admissions and his failure to conduct any analysis related to any downstream
  20 markets, Defendants seek exclusion under Fed. R. Evid. 702 of any opinions and
  21 testimony by Dr. Williams related to any relevant downstream markets.
  22          A proper economic analysis of Sceptre’s asserted downstream market
  23 definition and any economic effects in that market would require an appropriate
  24 assessment of the evidence and facts in this case. Dr. Williams did not conduct such
  25 as assessment. (See, e.g., Williams Dep. 191:9-21 (“
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  27      Monitors are “video display units essentially identical to DTVs but for the
        inclusion of an ATSC tuner.” (Layne-Farrar Report ¶ 19.)
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    6                                                                     ”) (emphasis
    7 added).) Dr. Layne-Farrar agrees that Dr. Williams “
    8                              ” and does not consider that competition in the
    9 downstream market may have been enhanced by the conduct at issue in this case.
  10 (See Layne-Farrar Report ¶ 17 (“
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  18                                              )
  19         Dr. Williams may have intentionally avoided performing the required
  20 assessment because it would demonstrate that competition in any relevant
  21 downstream market was not harmed, and this material omission from his analysis
  22 renders his opinions unreliable. See Fed. R. Evid. 702 Advisory Committee Note
  23 (court may consider whether expert has accounted for obvious alternative
  24 explanations in determining whether expert testimony is reliable). (Cf. U.S. Dep’t
  25 of Justice & Fed. Trade Comm’n, Horizontal Merger Guidelines (2010) available at
  26 http://1.usa.gov/1JFB0Ib [Ex. C to Counterclaim-Defendants’ Request for Judicial
  27 Notice] (hereinafter “Merger Guidelines”) at 2 (noting that “the Agencies consider
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    1 evidence indicating that the merger may enhance competition”).) For instance, in
    2 the Department of Justice Business Review Letter on which Sceptre relies in
    3 asserting its Counterclaims, (SAC ¶ 67), an assessment of downstream markets
    4 revealed that the patent pool at issue in that matter did not present anti-competitive
    5 concerns.3
    6         Therefore, because Dr. Williams admits that he has proffered no opinions, nor
    7 conducted any independent analysis, about any downstream market, any opinions he
    8 directly or indirectly seeks to proffer related in any way to downstream markets
    9 should be excluded under Fed. R. Evid. 702.4
  10 II.      Dr. Williams’ Opinions About the Upstream Market Are Unreliable, Are
  11          Not Based on Reliable Methods, and Do Not Fit the Facts of this Case.
  12          Dr. Williams’ opinions in Section IV of the Williams Report purport to
  13 measure the economic effects in the upstream technology market of Counterclaim-
  14 Defendants’ alleged conduct.         However, the analyses underlying Dr. Williams’
  15 opinions in Section IV suffer from a number of defects that individually and
  16 collectively are fatal to the admissibility of those opinions.             To be clear,
  17 Counterclaim-Defendants do not challenge the definition of the upstream
  18 technology market asserted by Sceptre and Dr. Williams. Defendants also do not
  19 challenge—as a general matter—the reliability, if properly applied, of the
  20
        3
          (See Business Review Letter from Joel I. Klein, Acting Assistant Attorney
  21
        General, Antitrust Division, U.S. Dep’t of Justice, to Gerrard R. Beeney, Esq. (June
  22    26, 1997), available at http://1.usa.gov/1OXq8bb [Ex. B to Counterclaim-
        Defendants’ Request for Judicial Notice] (hereinafter the “DOJ MPEG-2 Letter”) at
  23
        11 (refusing to commence an enforcement investigation into separate MPEG-2
  24    patent pool administered by MPEG LA, concluding that “it appears highly unlikely
        that the royalty rate could be used during [the license term] as a device to coordinate
  25
        the prices of downstream products.”).)
  26    4
      This would include opinions about the price of televisions (Williams Report ¶ 5),
  27 consumer preferences in downstream markets (id. ¶ 63-64), and DTV
     manufacturers’ margins (id. ¶ 62).
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    1 hypothetical monopolist and natural experiment methodologies that Dr. Williams
    2 claims to have applied.     Dr. Williams’ characterizations of his analyses as a
    3 hypothetical monopolist test and a natural experiment, respectively, are misleading
    4 because he either applied an inappropriate version of those tests or, at best,
    5 improperly applied the tests as described in the Merger Guidelines and the case law.
    6 In addition, Dr. Williams cannot reliably opine on Counterclaim-Defendants’
    7 alleged monopoly power or harm to competition in the upstream market because he
    8 did not independently analyze competition in that market.
    9        A. Dr. Williams Did Not Analyze Competition in the Upstream Market.
  10         Dr. Williams did not independently analyze competition in the upstream
  11 technology market, and his opinions related to the economic effects of the alleged
  12 misconduct are therefore unreliable and inadmissible under Rule 702.
  13         First, Dr. Williams fails to consider (or even acknowledge) that MPEG LA’s
  14 portfolio license for ATSC patents competes against the licenses available from
  15 individual ATSC patent holders. (See Ondeck Decl. Exs. C-E; Layne-Farrar Report
  16 ¶ 135.) The ability of each ATSC patent holder to negotiate licenses and royalty
  17 rates for their respective patents, in competition with MPEG LA’s portfolio license,
  18 is a well-recognized and effective safeguard against any potential anti-competitive
  19 concerns. (See, e.g., DOJ MPEG-2 Letter (independent availability of licenses from
  20 individual patent holders “is a valuable failsafe”).) The portfolio license and the
  21 licenses offered by ATSC patent holders compete against each other in the upstream
  22 technology market and act as constraints on the ability of individual patent holders
  23 or MPEG LA to impose supra-competitive prices on potential licensees.           (See
  24 Layne-Farrar Report ¶¶ 117, 135.) This is therefore a constraint on the ability of
  25 any patent holders, individually or collectively, to wield any monopoly power. Dr.
  26 Williams does not attempt to consider or measure this.
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    1        There is no dispute in this case that
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    4
    5              (Ondeck Decl. Exs. C-E.) And, Dr. Williams does not point to any
    6 evidence or allegation by Sceptre that any potential licensee, including Sceptre, was
    7 foreclosed from obtaining licenses directly from any ATSC patent holder.
    8 Therefore, Dr. Williams’ opinions in Section IV of his report—which relate to
    9 competition in the upstream technology market—are based on insufficient facts, are
  10 the product of unreliable methods, and do not appropriately apply any reliable
  11 method to the facts of this case.
  12         Second, despite his claims to the contrary, Dr. Williams does not actually
  13 analyze any “direct evidence” of Sceptre’s alleged harm to competition in the
  14 upstream market. Dr. Williams conducts no analysis of price or output levels in the
  15 upstream technology market. (Williams Dep. 188:10-23.) He therefore offers no
  16 reliable opinions in support of Sceptre’s allegation that competition was harmed.
  17 See Rebel Oil Co. v. Atl. Richfield Co., 51 F.3d 1421, 1434 (9th Cir. 1995).
  18         In fact, the available evidence—which Dr. Williams ignored—confirms the
  19 unreliability of his opinions and their disconnect from the facts of this case. For
  20 example, Dr. Williams failed to consider that the number of licensees of ATSC
  21 patents has increased over the relevant time period. (Layne-Farrar Report ¶¶ 65-69.)
  22 Dr. Williams does not identify, nor attempt to analyze the attendant facts or data
  23 related to, any licensee or potential licensee of ATSC patents other than Sceptre.
  24 (See generally Williams Report.) Such a glaring omission in his analysis is grounds
  25 for exclusion of his testimony about any economic effects in the upstream
  26 technology market. See, e.g., In re Southeastern Milk Antitrust Litig., No. 2:08–
  27 MD–1000, 2010 WL 8228835, at *1, *3 (E.D. Tenn. 2010) (granting defendants’
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    1 motion to exclude expert testimony because expert failed to support his testimony
    2 that defendant possessed monopoly power with evidence that defendant exercised
    3 actual control over prices or was engaged in actual exclusion of competitors).
    4        Stated differently, if Dr. Williams’ theories were correct, the empirical
    5 evidence and data would show an impact on the upstream technology marketplace.
    6 Over time—from when the ATSC standard was first adopted by the FCC in 1996, or
    7 even from when Sceptre entered the market in            —there would be increased
    8 concentration of manufacturers and sellers of DTVs, exits from the market, or
    9 shrinking numbers of ATSC patent licensees. Dr. Williams can point to no evidence
  10 of any of these, and he makes no attempt to analyze the evidence. In fact, the
  11 empirical evidence demonstrates the exact opposite: the numbers of manufacturers
  12 and sellers of DTV grew, new participants entered the market, and the number of
  13 ATSC patent licensees grew. (See Layne-Farrar Report ¶¶ 65-72.) As Dr. Layne-
  14 Farrar explains in her report:
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  26 (Id. ¶ 98; see also id. ¶ 94.) So, not only does Dr. Williams fail to conduct any
  27 analysis of the effect on prices or output in any market, he wholesale ignores
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    1 significant record evidence showing that Counterclaim-Defendants did not have or
    2 exercise monopoly power in the upstream technology market. For the additional
    3 and independent reason that Dr. Williams does not properly analyze direct evidence
    4 of any economic effects in the upstream technology market, his opinions set forth in
    5 Section V are inadmissible under Rule 702 because they are based on insufficient
    6 facts and data, are the product of unreliable methods, and are disconnected from the
    7 facts of this case.
    8         Third, Dr. Williams failed to properly consider, let alone conduct any analysis
    9 of, viable alternatives to licensing ATSC patents that are available to DTV sellers
  10 and manufacturers and that therefore preclude any monopoly power in the upstream
  11 market. (Id. ¶¶ 105-112.) This type of failure is routinely found by courts to be
  12 fatal to the admissibility of expert testimony. See, e.g., Corey Airport Services, Inc.
  13 v. City of Atlanta, 632 F. Supp. 2d 1246, 1290, 1294 (N.D. Ga. 2008), rev’d on other
  14 grounds, 587 F.3d 1280 (11th Cir. 2009) (holding expert testimony about harm to
  15 competition was deficient because the expert failed to consider reasonable
  16 substitutes, thereby inadequately defining the relevant market for airport
  17 advertising); Virginia Vermiculite Ltd. v. W.R. Grace & Co, 98 F. Supp. 2d 729,
  18 737–38 (W.D. Va. 2000) (granting defendants’ joint motion to exclude expert
  19 testimony about the relevant mining market because the expert failed to consider
  20 substitutability of vermiculite sizes as well as the substitutability of other products);
  21 cf. U.S. Horticultural Supply, Inc. v. Scotts Co., No. 04-5182, 2009 WL 89692, at
  22 *20 (E.D. Pa. Jan. 13, 2009) (“An improperly defined product market will pervert
  23 the assessment of . . . market power. Evidence of reasonable interchangeability, the
  24 touchstone of a product market analysis, requires consideration of price, use, and
  25 qualities. Reasonable interchangeability may also be demonstrated by cross-
  26 elasticity of demand between the product itself and substitutes for it.”).
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    1        As explained in the preceding section, Dr. Williams admits that he did not
    2 analyze or consider any relevant downstream product market. The absence of any
    3 regression analysis, economic modelling, cross-price elasticity analysis, or any
    4 analysis at all is controlling here. As Dr. Layne-Farrar explains:
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  12 (Layne-Farrar Report ¶ 17.)
  13         Dr. Williams himself explains that
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  16                                                     (Williams Report ¶ 90; cf. id. ¶ 78
  17 n.135) (
  18                                )   Despite his discussion about its importance, Dr.
  19 Williams completely fails to assess whether potential licensees of ATSC patents
  20 have the option
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  24                                    ) Instead, Dr. Williams concludes—in a footnote,
  25 without any analysis of the downstream market, and solely based on his ipse dixit—
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    7                           )
    8        Leaving aside that Sceptre started selling DTVs in                , after the ATSC
    9 standard was adopted in 1996, Dr. Williams conducts zero analysis of Sceptre’s
  10 sunk costs or investments (if any) in selling DTVs. And, as discussed above, he
  11 makes no effort to consider or analyze the economics or feasibility of available
  12 alternatives to Sceptre and licensees. Dr. Williams even recognizes that “evaluation
  13 of competitive alternatives available to customers is always necessary at some point
  14 in the analysis.” (Id. ¶ 73 n.131 (quoting Merger Guidelines) (emphasis added).)
  15 Dr. Williams even fails to consider that Sceptre had been producing monitors since
  16 at least       , and he ignores Sceptre’s admission that
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  20                                                                  Further, his failure to
  21 analyze switching costs in the upstream technology market here contradicts his
  22 recognition that
  23                                               . (Id. ¶¶ 15, 32, 36-37.)
  24         In short, Dr. Williams conducts no analysis of the downstream product
  25 market, of the feasibility or availability of any alternatives to licensing a portfolio of
  26 ATSC patents from MPEG LA, or of the switching costs to Sceptre or any licensee.
  27 Therefore, his opinions about the alleged economic effects, patent hold-up, and
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    1 monopoly power in the upstream technology market are based on insufficient facts,
    2 egregiously ignore the facts and evidence in this case, and are not the product of any
    3 reliable analysis. (See Layne-Farrar Report ¶¶ 85-89.) Therefore, the opinions set
    4 forth in Section IV of the Williams Report are inadmissible under Rule 702 for this
    5 reason alone. See TYR Sport, Inc. v. Warnaco Swimwear, Inc., 709 F. Supp. 2d 821,
    6 834 (C.D. Cal. 2010) (“The Court also finds that [the expert’s] report should be
    7 excluded under Federal Rule of Evidence 702 as unreliable and not based on
    8 sufficient facts or data. By not considering any data on the pricing, sales volume, or
    9 market share of manufacturers other than Speedo and TYR, [the expert] simply
  10 cannot make a reliable analysis as to market impact. The report is therefore
  11 irrelevant to the issue of market impact.”).
  12         Each of the foregoing defects in Dr. Williams’ analysis of the upstream
  13 technology market renders his opinions in Section IV of his report inadmissible
  14 under Rule 702 and Daubert.
  15         B. Dr. Williams’ Tests of Monopoly Power Are Unreliable.
  16         Dr. Williams’ purported hypothetical monopolist test (including the attendant
  17 SSNIP test), and his purported natural experiment analysis are inadmissible pursuant
  18 to Rule 702 because they are not reliable applications of the methodologies they
  19 purport to apply.
  20         Hypothetical Monopolist Test.      Dr. Williams did not properly conduct a
  21 hypothetical monopolist test, and therefore his opinions as to monopoly power are
  22 not admissible for this additional, independent reason. Such a test “requires that a
  23 hypothetical profit-maximizing firm, not subject to price regulation, that was the
  24 only present and future seller of those products (‘hypothetical monopolist’) likely
  25 would impose at least a small but significant and non-transitory increase in price
  26 (‘SSNIP’) on at least one product in the market, including at least one product sold
  27 by one of the merging firms.” (Merger Guidelines at 9.) Dr. Williams claims to
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    1 have performed a SSNIP test, but has not done so.6 Instead, Dr. Williams merely
    2 affixed antitrust labels to a cursory and conclusory analysis that is nothing more
    3 than his own inappropriate and economically insignificant version of a SSNIP test.
    4 That is insufficient under Rule 702 and Daubert as it lacks sufficient “intellectual
    5 rigor” to be considered reliable or scientific. Kumho Tire, 526 U.S. at 152.
    6         Similar deficiencies precluded plaintiffs’ expert testimony on market issues in
    7 In re Live Concert Antitrust Litig., 863 F. Supp. 2d 966 (C.D. Cal. 2012), which is
    8 instructive here. There, plaintiffs alleged that defendants engaged in anticompetitive
    9 activity in their promotion of live music concerts, resulting in supracompetitive
  10 ticket pricing. Id. at 969. Defendants challenged plaintiffs’ expert, Dr. Owen
  11 Phillips, who opined that the relevant product market was comprised of “live rock
  12 music concerts.” Id. at 983. The court agreed with defendants and excluded Dr.
  13 Phillips’ opinion on the relevant product market, holding that he: (1) failed to
  14 properly apply the SSNIP methodology; (2) failed to consider several “practical
  15 indicia” of the outer bounds of a product market as set forth in Brown Shoe Co. v.
  16 United States, 370 U.S. 294, 325 (1962); and (3) failed to consider cross-elasticity
  17 of supply. See In re Live Concert Antitrust Litig., 863 F. Supp. 2d at 986-94.
  18          In rejecting Dr. Phillips’ SSNIP test, the Live Concert court determined that
  19 Dr. Phillips did not reliably apply the SSNIP methodology. Id. at 986-89. Though
  20 Dr. Phillips recognized that a proper SSNIP methodology requires starting with a
  21 narrow market definition and then expanding that definition until all reasonable
  22 substitutes were included, he did not consider any substitutes and did not test his
  23 assumptions. Id. at 987-89. His failure to analyze narrower or broader product
  24 markets rendered his SSNIP test unrealizable under Rule 702. Id. at 986. The same
  25 is true for Dr. Williams. His version of the SSNIP test is under-inclusive on both
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  27     Counterclaim-Defendants do not dispute that a properly conducted SSNIP test can
        be an accepted means of antitrust analysis.
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    1 sides of the upstream technology market—on the seller’s side, it fails to consider
    2 that the portfolio licenses offered by MPEG LA compete with the licenses offered
    3 by individual ATSC patent holders, and, on the buyer’s side, it fails to consider
    4 viable alternatives to licensees for switching to monitors or negotiating licenses
    5 independently from the ATSC patent holders.
    6        Further, Dr. Williams identifies no methodology for his so-called SSNIP test
    7 and conducts no independent calculations. The Live Concert court recognized that a
    8 SSNIP test is an “iterative process,” but Dr. Williams identifies no process at all,
    9 much less an iterative one. Id. at 987. Dr. Williams merely
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  12                                                                      (Williams Report
  13 ¶¶ 74, 81.) That is the extent of his analysis. That is not a SSNIP test, by any
  14 definition recognized by the Merger Guidelines or by the case law.
  15         Regardless of what Dr. Williams calls it, the test is economically incapable of
  16 defining a relevant antitrust market or allowing a reliable assessment of monopoly
  17 power. It is a vacuous test with no power of economic assessment, and it is
  18 therefore unhelpful to the trier of fact and unreliable under accepted economic
  19 principles. See AFMS LLC v. United Parcel Service Co., FedEx Corp., Case No.
  20 CV 10-5830, slip op., at 5 (C.D. Cal. Feb. 4, 2014) [Ex. A to Counterclaim-
  21 Defendants’ Request for Judicial Notice] (hereinafter “AFMS”) (excluding expert
  22 testimony that was: (1) not testable by the court because the expert did not explain
  23 his methodology; (2) based on “‘soft’ qualitative evidence instead of ‘rigorous’
  24 economic tests”; and (3) not derived from definable economic principles). At its
  25 core, the SSNIP test is designed to measure consumer options and decisions, but Dr.
  26 Williams ignores consumers in both markets entirely. (See Layne-Farrar Report ¶¶
  27 35-37.)
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    1         Because Dr. Williams failed to properly apply a SSNIP test, his opinions and
    2 testimony regarding the upstream technology market must be excluded.7 See
    3 Kentucky Speedway, LLC v. NASCAR, Inc., 588 F.3d 908 (6th Cir. 2009) (affirming
    4 exclusion of expert that “used his own version” of the SSNIP test and failed to
    5 consider proper substitutes); In re Fresh Del Monte Pineapples Antitrust Litig., No.
    6 04-md-1628(RMB)(MHD), 2009 WL 3241401, at *7 (S.D.N.Y. Sept. 30, 2009)
    7 (excluding expert’s purported SSNIP test because applied methodology did not
    8 meaningfully consider whether other products were reasonable substitutes).8
    9
        7
  10      The absence of a proper application of the SSNIP test in Dr. Williams’ report is
        “particularly troublesome in the antitrust arena where economic models and analysis
  11    are required.” AFMS, at 10. This is especially true “in the antitrust context [where]
  12    . . . many courts . . . are increasingly skeptical of plaintiffs’ experts who offer only
        generalized and theoretical opinions that a particular methodology may serve this
  13    purpose without also submitting a functioning model that is tailored to market facts
  14    in the case at hand.” Id. (quoting In re Graphics Processing Units Antitrust Litig.,
        253 F.R.D. 478, 492 (N.D. Cal. 2008)). It is beyond dispute that Dr. Williams has
  15
        not “submit[ed] a functioning model that is tailored” to this case because he has not
  16    submitted a model whatsoever, let alone one that can be tested. Id.
        8
  17      The Live Concert court identified two additional deficiencies in Dr. Phillips’
        analysis that are also present in Dr. Williams’ analysis. First, Dr. Phillips, like Dr.
  18    Williams, did not calculate the cross-elasticity of demand or supply. Id. at 988-89.
  19    Although that failure alone might not be “fatal” to a proposed market definition, Dr.
        Phillips also failed to consider the Brown Shoe “practical indicia” of
  20    interchangeability: “(1) industry or public recognition of the market as a separate
  21    economic entity; (2) the product’s peculiar characteristics and uses; (3) unique
        production facilities; (4) distinct customers; (5) distinct prices; (6) sensitivity to
  22    price changes; and (7) specialized vendors.” Id. at 989. Likewise Dr. Williams did
  23    not conduct a qualitative analysis of the Brown Shoe factors, or whether such factors
        were economically significant. His purported hypothetical monopolist test and his
  24    upstream market opinions fail to satisfy Rule 702 for this additional, independent
  25    reason.
  26        Second, Dr. Phillips’ failure to consider cross-elasticity of supply likewise
     undermined his proposed market definition. Id. at 993-94. Because a reasonable
  27 market definition must consider cross-elasticity of both demand and supply, and Dr.
  28 Phillips did not evaluate supply-side evidence, his testimony was not reliable or
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    1        Dr. Williams also failed to consider factors relevant to implementing the
    2 hypothetical monopolist test, which similarly demonstrates the flaws in his
    3 methodology. The Merger Guidelines outline eight categories of reliable evidence
    4 that can demonstrate consumers’ responses to higher prices including, inter alia:
    5 “information from buyers, including surveys, concerning how they would respond to
    6 price changes;” “objective information about product characteristics and the costs
    7 and delays of switching products, especially switching from products in the
    8 candidate market to products outside the candidate market;” “evidence from other
    9 industry participants, such as sellers of complementary products;” and “the
  10 influence of downstream competition faced by customers in their output markets.”
  11 (Merger Guidelines at 11-12.) Dr. Williams did not analyze any of these factors,
  12 and his analysis is thus unable to demonstrate “the extent to which customers would
  13 likely substitute away from the products in the candidate market in response to such
  14 a price increase and on the profit margins earned on those products” as required by
  15 the hypothetical monopolist test. (Id. at 11.)
  16         In short, Dr. Williams identified an accepted methodology—the SSNIP test—
  17 but did not employ that methodology, and thus his testimony is inadmissible. See
  18 e.g., McLaughlin Equip. Co. v. Servaas, No. IP-0127-C-T/K, 2004 WL 1629603, at
  19 *6 (S.D. Ind. Feb. 18, 2004) (“It is not sufficient for an expert to selectively apply
  20 some (favorable) factors of an approved methodology such as the Horizontal
  21 Merger Guidelines.”); In re TMI Litig. Cases Consol. II, 911 F. Supp. 775, 825-26
  22 (M.D. Pa. 1996) (excluding expert analysis that “loosely resemble[d] a traditional . .
  23 . methodology” because “[i]t is not a generally accepted practice to discard a key
  24 step in the standard methodology”).          Dr. Williams’ purported hypothetical
  25 monopolist test is inadmissible under Rule 702 because—despite Dr. Williams’
  26 helpful. Id. Dr. Williams’ testimony is even further afield and less helpful than Dr.
  27 Phillips’. Dr. Williams did not consider cross-elasticity of demand or cross-
     elasticity of supply.
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    1 characterization—it is not a reliable method, is unhelpful to the Court or a jury, is
    2 based on insufficient facts and data, and was improperly and unreliably applied to
    3 the facts of this case.
    4         Natural Experiment Analysis. Dr. Williams’ “natural experiment” analysis is
    5 also inadmissible under Rule 702 because it is unreliable and not a reliable
    6 methodology, despite Dr. Williams’ conclusory description. Dr. Williams’ two-
    7 sentence conclusion that
    8                is pure ipse dixit. The Merger Guidelines explain that the agencies
    9 sometimes make “[d]irect [c]omparisons [b]ased on [e]xperience” by looking to the
  10 measurable effects of “historical” or “analogous” events in order to predict the
  11 effects of the merger at issue. (See Merger Guidelines, at 3.) Dr. Williams cannot
  12 use the underlying challenged conduct as a “natural experiment” because he does
  13 not look at any purported effects of the underlying conduct; furthermore, his
  14 purported “experiment” is limited to the very conduct at issue in this case and
  15 references no historical or analogous situation. (See Layne-Farrar Report ¶¶ 99-
  16 103.) Counterclaim-Defendants are aware of no case allowing such evidence to be
  17 admissible.
  18          Moreover, Dr. Williams ignores a natural experiment cited in Sceptre’s own
  19 Counterclaim—in 1997, the DOJ concluded that a different patent pool administered
  20 by MPEG LA was unlikely to be anticompetitive and, to the contrary, had
  21 potentially significant pro-competitive effects. (See DOJ MPEG-2 Letter.) Further,
  22 because Dr. Williams fails to provide any explanation of his analysis, the Court, the
  23 jury, and Counterclaim-Defendants are left to guess at the underlying process and
  24 methods underlying his conclusion. Dr. Williams’ opinions and testimony about a
  25 natural experiment should similarly be excluded under Rule 702 because they are
  26 not helpful to the trier of fact and because they are not the product of any reliable
  27 method.
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    1          For all of the foregoing reasons, the opinions and testimony set forth in
    2 Section IV of the Williams Report fail to meet the standards of Rule 702 and
    3 Daubert, and they are therefore inadmissible at summary judgment and at trial. 9
    4 III.     Dr. Williams’ Opinions As to Alleged Injury to Sceptre Are Inadmissible.
    5          Dr. Williams’ opinions in Section V of the Williams Report are inadmissible
    6 because they are not helpful to the trier of fact, are not the product of any reliable
    7 economic analysis, are based on insufficient facts, and do not fit the facts of this
    8 case. See generally Fed. R. Evid. 702; Daubert, 509 U.S. 579.
    9          First, Dr. Williams identifies no alleged injury to Sceptre other than generally
  10 asserting
  11
  12 (Williams Report ¶¶ 95-99.) Because there is no analysis behind the conclusion—
  13 let alone an identification of specific conduct by any particular Counterclaim-
  14 Defendant and when it occurred—it is tantamount to a legal conclusion and
  15 unreliable at best. See Therasense, Inc. v. Becton, Dickinson & Co., No. C 04-
  16 02123 WHA, 2008 WL 2323856, at *1 (N.D. Cal. May 22, 2008) (“[T]he attempted
  17 spoon-feeding of client-prepared and lawyer-orchestrated ‘facts’ to a hired expert
  18 who then ‘relies’ on the information to express an opinion” is “[o]ne of the worst
  19 abuses in civil litigation.”).
  20           Second, Dr. Williams concludes without any analysis that Sceptre would have
  21 paid for an ATSC patent pool license if a rate lower than $5 would have been
  22 offered. However, Dr. Williams’ opinion disregards the extensive documentary
  23
        9
       Notably, the entirety of the section of Dr. Williams’ report on the topic of
  24 “Anticompetitive effects of the supra-FRAND royalty rate” amounts to nothing
  25 more than a literature review of the topic. (See Williams Report ¶¶ 90-94.) Dr.
     Williams does not link that purported summary to a single record fact or document
  26 in this case. Thus, these particular opinions do not meet Daubert’s “fit” requirement
  27 and are inadmissible for this additional, independent reason. Daubert, 509 U.S. at
     591.
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    1 ignore it. Concord Boat Corp. v. Brunswick Corp., 207 F.3d 1039, 1055-57 (8th
    2 Cir. 2000) (expert evidence “should have been excluded” where it “construct[ed] a
    3 hypothetical market which was not grounded in the economic reality . . . [and]
    4 ignored inconvenient evidence”). Because Dr. Williams’ conclusion is not based on
    5 any facts or admissible evidence, this Court should “conclude that there is simply
    6 too great an analytic gap between the data and the opinion proffered.” See General
    7 Elec. v. Joiner, 522 U.S. 136, 146 (1997); see also Abarca v. Merck & Co., No.
    8 1:07cv0388 OWW DLB, 2010 WL 4643642, at *4 (E.D. Cal. Nov. 9, 2010)
    9 (explaining that “an expert's opinion may not be based on assumptions of fact
  10 without evidentiary support . . . .”) (citation omitted).
  11         Dr. Williams
  12
  13                              (Layne-Farrar Report ¶ 18.) Additionally, Dr. Williams
  14 does not consider that Sceptre could have instead attempted to negotiate directly
  15 with ATSC patent holders or could have feasibly switched its business to selling
  16 monitors. It is telling that Dr. Williams
  17
  18                 (Williams Report ¶ 97), yet omits the option selected by Sceptre
  19 itself—willfully refusing to pay royalties and refusing to negotiate with MPEG LA,
  20 while pocketing six years’ worth of patent piracy profits.          Unsupported and
  21 conclusory testimony based on an expert’s say-so does not support a finding of
  22 reliability—“nothing in either Daubert or the Federal Rules of Evidence requires a
  23 district court to admit opinion evidence that is connected to existing data only by the
  24 ipse dixit of the expert.” Kumho Tire, 526 U.S. at 157.
  25         Therefore, each of the foregoing flaws and deficiencies in Dr. Williams’
  26 analysis are independently and collectively fatal to the admissibility of the opinions
  27 set forth in Section V of Dr. Williams’ Report. These opinions should therefore be
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